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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION


 DALLAS BUYERS CLUB, LLC,                Case No.: 3:15-cv-0907-AC

              Plaintiff,                 DECLARATION OF MICHAEL O. STEVENS
 v.                                      IN SUPPORT OF DEFENDANT’S
                                         OPPOSITION TO PLAINTIFF’S MOTION FOR
 JOHN HUSZAR,                            EXTENSION OF TIME

              Defendant.



                 DECLARATION OF MICHAEL O. STEVENS IN SUPPORT OF
         DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR EXTENSION OF TIME
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I, MICHAEL O. STEVENS, declare as follows:

   1. I am an attorney licensed to practice law within the State of Oregon. I am admitted to the
       District of Oregon as well as the United States Court of Appeals for the Ninth Circuit.
   2. I am counsel of record for Defendant John Huszar (“Defendant”).
   3. Starting on June 5, 2019, Lincoln Bandlow communicated with me concerning his need
       for an extension of time to file his client’s supplemental briefing on the motions for
       summary judgment.
   4. Attached hereto as Exhibit 1 is a true and correct copy of an email received from Lincoln
       Bandlow on June 5, 2019.
   5. Attached hereto as Exhibit 2 is a true and correct copy of an email received from Lincoln
       Bandlow on June 6, 2019.
   6. No further emails or calls were made by Mr. Bandlow to me after the above noted emails
       and before the filing for the extension.


       I swear under the penalty of perjury under the laws of the United States of America that
the above is true and correct.
Executed on:    June 7, 2019

                                          /s/ Michael O. Stevens
                                          MICHAEL O. STEVENS
                                          Declarant




                  DECLARATION OF MICHAEL O. STEVENS IN SUPPORT OF
          DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR EXTENSION OF TIME
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